                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                 DOCKET NO. 3:13-cr-204

 UNITED STATES OF AMERICA,                              )
                                                        )
                                                        )
                                                        )
 Vs.                                                    )                 ORDER
                                                        )
 GREG MILLER,                                           )
                                                        )
                          Defendant.                    )


       THIS MATTER is before the Court on defendant’s counseled Motion for Early

Termination of Supervised Release. Defendant’s Supervising Officer, USPO Valerie Debnam, has

advised counsel that Miller has been on low intensity supervision and has not posed any problems

whatsoever. The Court also notes that the motion reflects that the government does not oppose

early termination. Having considered defendant’s motion and reviewed the pleadings, the Court

enters the following Order.

                                         ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion for Early Termination of

Supervised Release (#275) is GRANTED, and supervision is terminated early as successfully

completed.



 Signed: April 24, 2018




                                              -1-



         Case 3:13-cr-00204-MOC Document 276 Filed 04/24/18 Page 1 of 1
